USCA Case #24-1113    Document #2071517        Filed: 08/22/2024    Page 1 of 7
      ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024


                     United States Court of Appeals for
                      the District of Columbia Circuit


                                No. 24-1113
             (and Consolidated Cases Nos. 24-1130 & 24-1183)



               TIKTOK INC. and BYTEDANCE LTD.,
                                                   Petitioners,
                                  v.
            MERRICK B. GARLAND, in his official capacity as
                Attorney General of the United States,
                                                  Respondent.
                 (Caption Continued on Inside Cover)

          On Petition for Review of the Protecting Americans from
              Foreign Adversary Controlled Applications Act


MOTION OF AMICUS CURIAE THE FOUNDATION FOR DEFENSE OF
 DEMOCRACIES FOR A WAIVER OF THIS COURT’S RULE 28(a)(2)

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                                     August 22, 2024
USCA Case #24-1113   Document #2071517       Filed: 08/22/2024   Page 2 of 7


                      BRIAN FIREBAUGH, et al.,
                                                  Petitioners,
                                 v.
            MERRICK B. GARLAND, in his official capacity as
                Attorney General of the United States,
                                                  Respondent.

                        BASED POLITICS INC.,
                                                  Petitioner,
                                   v.

            MERRICK B. GARLAND, in his official capacity as
                Attorney General of the United States,
                                                  Respondent.
 USCA Case #24-1113       Document #2071517           Filed: 08/22/2024    Page 3 of 7

    CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

A. Parties and Amici. Except for the Amicus Curiae filing this Motion, all parties,

   intervenors, and amici appearing before this Court of which Amicus is aware are

   listed in the Briefs for Petitioners and Respondent.

B. Rulings Under Review. An accurate reference to the law at issue appears in the

   Briefs for Petitioners and Respondent.

C. Related Cases. Counsel for Amicus Curiae are not aware of any other case

   currently pending before this or any other court that is related to this case within

   the meaning of this Court’s Rule 28(a)(1)(C).

                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and this Court’s Rule 26.1,

Amicus the Foundation for Defense of Democracies states that it has no parent

corporations and that no publicly held entity owns ten percent (10%) or more of it.

        MOTION FOR A WAIVER OF THIS COURT’S RULE 28(a)(2)
                 OR FOR ALTERNATIVE RELIEF

      This is a motion for the nunc pro tunc waiver of the Court’s Rule 28(a)(2), which

prohibits using the shorthand “passim” in tables of authorities.

      Amicus Curiae the Foundation for Defense of Democracies (FDD) timely filed

its brief electronically on August 2, 2024 (and soon after a version correcting citation

forms and the like). FDD then timely filed hard copies. On August 20, the brief was



                                            2
 USCA Case #24-1113        Document #2071517           Filed: 08/22/2024    Page 4 of 7
“modified” in status from “filed” to “lodged.” On August 22, the Clerk’s Office

notified counsel that FDD should seek relief from the modification by motion.

      The modification of the amicus brief’s status from “filed” to “lodged” was done,

as counsel understands, because the brief’s table of authorities contains the word

“passim.” (The amicus brief contains the word passim, not, as it were, passim, but

rather once.) This Court’s Rule 28(a)(2) provides that in a table of authorities, “passim

or similar terms may not be used.”

      The one appearance of “passim” was inadvertent, and we regret it. But printing

new hard copies of the amicus brief, which would not have the single instance of

passim in the table of authorities, would entail costs and efforts disproportionate, in

counsel’s view, to any harm done by the inadvertent inclusion of that one word. FDD

thus asks that the Court waive for this filing the application of Rule 28(a)(2) and excuse

FDD from having to file new hard copies of the amicus brief with the word passim

excised. The Court should then direct that the status of the August 2 amicus brief be

restored, from “lodged” back to “filed.”

      In the alternative, should the Court decide that it does want new copies, FDD

asks that it be given until August 29, 2024, to file them. Right now, lead counsel for

FDD is on a long-scheduled trip out of the country. Undersigned counsel is in the

country but out of state, in New York. Printing, binding, and filing new hard copies

by tomorrow is not reasonably practicable. In any event, the Court already has hard

copies that were previously filed, and are still lodged; the lodged copies and the new

                                            3
 USCA Case #24-1113          Document #2071517            Filed: 08/22/2024   Page 5 of 7
ones will be identical in substance with only the one change in the table of authorities;

and allowing counsel a couple of extra business days to print, bind, and file the new

hard copies will relieve counsel and its client FDD of a significant burden at no cost

to the Court or its staff, or to the parties to these petitions.

                                      CONCLUSION

       For the reasons set forth above, Amicus the Foundation for Defense of

Democracies respectfully requests that its Motion be granted and that it be excused,

nunc pro tunc, from the application of the Court’s Rule 28(a)(2).

                                   Respectfully submitted,

                                   /s/ Arnon D. Siegel

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                                              4
 USCA Case #24-1113       Document #2071517           Filed: 08/22/2024   Page 6 of 7
                       CERTIFICATE OF COMPLIANCE

      This Motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2) and contains 462 words. The Motion also complies with the

typeface and type-style requirements of Federal Rule of Appellate Procedure 32(a)(5)-

(6), because it was prepared using Word for Microsoft 365 in Times New Roman 14-

point font, a proportionally spaced typeface.



                                /s/ Arnon D. Siegel
                                Arnon D. Siegel




                                           5
USCA Case #24-1113       Document #2071517           Filed: 08/22/2024   Page 7 of 7


                         CERTIFICATE OF SERVICE

     I hereby certify that on this 22nd day of August, 2024, I caused true and

correct copies of the foregoing Motion of Amicus Curiae Foundation for Defense of

Democracies to be served via electronic mail upon all counsel of record, via the

Court’s ECF system.

                               /s/ Arnon D. Siegel
                               Arnon D. Siegel




                                         6
